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                               UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

 UNITED STATES OF AMERICA                                 3:21-cr-00099-SI

                v.                                        MOTION FOR ENTRY OF A FINAL
                                                          ORDER OF FORFEITURE
 CARLOS ARON PALADINI,

               Defendant.

       1.      On June 14, 2021, this Court entered an Amended Preliminary Order of

Forfeiture, ordering defendant Carlos Aron Paladini to forfeit all his right, title, and interest in

the following asset:

               $12,300 U.S. currency.

       2. Pursuant to 21 U.S.C. § 853(n), third parties asserting a legal interest in the above-

described forfeited property are entitled to a judicial determination of the validity of the legal

claims or interests they assert.

       3. As previously indicated in the Declaration of Publication (ECF No. 26), notice of this

criminal forfeiture was posted on the official government internet site, www.forfeiture.gov, for at

least 30 consecutive days. It stated the intent of the United States to dispose of the property in

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accordance with the law and notified all third parties of their right to petition the Court within

sixty (60) days for a hearing to adjudicate the validity of their alleged legal interest in the

property.

        4. On June 23, 2021, the Federal Bureau of Investigation alerted the United States

Attorney’s Office that the seized currency was taken to Loomis to be recounted before being

released to the U.S. Marshals Service. During the count, a counterfeit $50.00 U.S. bill was

detected. Therefore, the actual amount available for forfeiture in this case is $12,250.00.

        5. I know of no other persons who may have an interest in the currency that is

forfeitable in this case.

        6. No third party has made claim to or declared any interest in the forfeitable property,

and the time for filing a claim has expired.

        WHEREFORE, the United States moves this Court for a Final Order of Forfeiture

declaring the $12,250 in U.S. currency, forfeited as to all persons and vesting full right, title and

interest in the property in the United States and directing the United States to dispose of the

property according to law.

        DATED: January 25, 2022.                       Respectfully submitted,

                                                       SCOTT ERIK ASPHAUG
                                                       United States Attorney

                                                       /s/ Lewis S. Burkhart
                                                       LEWIS S. BURKHART, OSB #08281
                                                       Assistant United States Attorney




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